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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


IN RE INITIAL PUBLIC OFFERING SECURITIES
                                                                        21 MC 92 (SAS)
LITIGATION


This document relates to:
ALL ACTIONS



                           [Prop ed] CLASS DISTRIBUTION ORDER


        WHEREAS, on October S, 2009, this Court entered an Opinion and Order in this

coordinated class action litigation approving the terms of the Stipulation and Agreement of

Settlement, dated April 2, 2009 (the "Stipulation"), including the Plan ofAllocation for

distributing the 309 Net Designation Amounts l to Class Members who submit acceptable Proofs

ofClaim ("POCs"), and directed the parties to consummate the settlement in accordance with the

Stipulation's terms; and

        WHEREAS, all appeals from the approval of the Stipulation and Plan of Allocation have

been resolved in favor of the Stipulation and the Plan of Allocation and by January 2012, the

Settlement reached its "Effective Date,,2 and is no longer subject to revision or reversal on any

appeal or other review; and

        WHEREAS, this Court has directed the parties to consummate the terms of the

Stipulation and the Plan of Allocation; and

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       As defined in the July 2, 2009 Notice ofPendency and Proposed Global Settlement of
309 Class Actions, Motion/or Approval o/Settlement, Plan 0/Allocation, Attorneys' Fees and
Expenses, PSLRA Awards ofReimbursement a/Representatives' Time and Expenses and
Settlement Fairness Hearing (the "Settlement Notice").
2
        As defined in the StipUlation.
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         WHEREAS, this Court has retained jurisdiction of the above-captioned coordinated

class action litigation (the "Actions") for the purpose of considering any further application or

matter which may arise in connection with the administration and implementation of the

Settlement and the processing of the POCs and the distribution of the 309 Net Designation

Amounts to the Class Members whose POCs have been accepted ("Authorized Claimants") and

who have Recognized Claims3 from transactions in the Subject Securities4 applicable to the Net

Designation Amounts allocated to the Subject Securities they purchased;

         NOW, THEREFORE, upon reading and filing the Declaration a/Stephen J Cirami (the

"Cirami Declaration") of The Garden City Group ("GCG"), and the Joint Declaration a/Stanley

D. Bernstein and Ariana J Tadler, a/Plaintiffs' Executive Committee (the "Joint Declaration"),

and the Memorandum a/Law submitted in support of this Motion, and upon all prior proceedings

herein and after due deliberation, it is hereby

         ORDERED, that POCs submitted after October 10, 2009, the original deadline set by

the Court's Preliminary Order in Connection with Settlement Proceedings, dated June 11,2009

(the "Preliminary Order"), through and including February 9, 2012, the final extended deadline

as provided by the Court's Order Authorizing the Claims Administrator to Process all Proofs 0/

Claim it Received on or Be/ore February 9, 2012, dated February 9, 2012, be and the same

hereby are deemed timely; and it is further

        ORDERED, that no claim submitted after February 9, 2012 may be accepted for any

reason whatsoever; and it is further




3
        As defined in the Settlement Notice.
4
        As defined in the Stipulation.


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          ORDERED, that the claims processing and administrative determinations of the Claims

Administrator, accepting the POCs as indicated on the computer disk of Accepted POCs

submitted with and described in the Cirami Declaration as Exhibit C, be and the same hereby are

approved; and it is further

          ORDERED, that the administrative determinations of the Claims Administrator rejecting

the POCs as indicated on the computer printout of Rejected POCs submitted with and described

in the Cirami Declaration as Exhibit C (other than the POCs of Joan Rodriguez, Charles A.

Herbert, and Michael Rockich and Sumana S. Rockich, who have requested the Court's review

of the processing and rejection of their claims, and who are the subj ect of a separate pending

Motion), be and the same hereby are approved, and said POCs are hereby rejected; and it is

further

          ORDERED, that GCG shall be paid the sum of $1,481,851.82 from the Gross Settlement

Fund for the unpaid balance of its fees and expenses incurred and to be incurred, including for

the payment of GCG's estimated fees and expenses through one year after the initial distributions

of the 309 Net Designation Amounts, in connection with its services performed and to be

performed in giving notice to the Class, preparing tax returns for the Settlement Fund, processing

all the POCs submitted, determining the amount of the final Net Settlement Fund, allocating the

full Net Settlement Fund into 309 Net Designation amounts, for distribution among the

Authorized Claimants for the 309 Subject Securities, and administering and distributing 309 Net

Designation Amounts to the Authorized Claimant(s) who have Recognized Claim(s) from

transactions in the Subject Security(ies) applicable to the Net Designation Amount(s) allocated to

the Subject Security(ies) they purchased; and it is further




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         ORDERED, that Plaintiffs' Executive Committee shall be paid a total of$575,274.85

out of the Gross Settlement Fund for: (A) 124,098.41 representing two-thirds (2/3 HJs )5 of certain

litigation expenses that were inadvertently omitted from the prior application for fees and

expenses submitted in August 2009 (the "2009 Application"); (B) $78,080.85 representing two-

thirds (2/3 rdS ) of certain additional expenses related to the appeals and other post-Judgment

services provided for the Classes in this litigation after the 2009 Application, that are in excess of

the amounts that were estimated for such post-settlement work in the 2009 Application; and (C)

$373,095.58 representing one third (l/3 rd )6 of the amount by which Plaintiffs' Executive

Committee's fees were reduced by the excess ofthe estimated total administration fees and

expenses, over the actual total fees and expenses for such administration fees and expenses; and

it is further

        ORDERED, that as described in the Cirami Declaration, the Claims Administrator shall

allocate the Net Settlement Fund remaining after the foregoing payments, into 309 Net

Designation Amounts, one for each Subject Security, and distribute each such Net Designation

Amount, pursuant to the Plan of Allocation, to the Authorized Claimants who have Recognized

Claims from transactions in the Subject Security for which the particular Net Designation



        If these expenses had been included in the 2009 Application and approved, they would
have been paid from the Gross Settlement Fund and Plaintiffs' Counsel's fees, awarded as one­
third of the Net Settlement Fund, would have been reduced by one-third of the expense amount.
Accordingly. to make this reimbursement of expenses equivalent to the 2009 Award, Plaintiffs'
Executive Committee is applying for only 2/3 rds of these expenses.

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        Similarly, if these over-estimated administration expenses were NOT included in the
calculation of the Net Settlement Fund, Plaintiffs' Executive Committee's fee award, calculated
as one-third ofthe Net Settlement Fund, would have been greater by one-third of the excess
estimated expense amount. Accordingly, to reflect the reduced actual expense level being paid
by the Classes, the Fee Award should be increased by one-third of the over-estimated amount of
expenses.


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Amount was established, in proportion to the Recognized Claims allocable to all Authorized

Claimants with Recognized Claims from sllch Subject Security; and it is further

        ORDERED, that all the payments to be distributed to the Authorized Claimants shall

bear the notation "CASH PROMPTLY, VOID AND SUBJECT TO RE-DISTRIBUTION 180

DA YS AFTER ISSUE DATE." Plaintiffs' Executive Committee and the Claims Administrator

are authorized to take appropriate action to locate and or contact any eligible claimant who has

not cashed his, her or its distribution within said time; and it is further

        ORDERED, that the costs of such services to locate and reissue payments to such

Authorized Claimants shall be payable from the unclaimed/uncashed monies remaining in the

respective Net Designation Amounts from which the payment was issued; and it is further

       ORDERED, that, as provided in the Plan of Allocation previously approved by the

Court, after one year after the initial distributions of the 309 Net Designation Amounts to their

respective Authorized Claimants, and after reasonable and diligent efforts have been made to

have Authorized Claimants cash their initial distributions, the Claims Administrator and

Plaintiffs' Executive Committee are authorized to re-distribute any funds remaining in each of

the respective distribution accounts by reason of returned or unpaid distributions or otherwise

(each a "Residual Net Designation Amount"), to the Authorized Claimants who purchased the

applicable SUbject Security for such Residual Net Designation Amount, provided that: (i) they

have cashed their initial distribution from such Subject Security'S Net Designation Amount; and

(ii) that on the initial calculation of the amounts to be re-distributed, after payment of any unpaid

costs or fees incurred in administering the respective Net Designation Amounts for such re­




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distribution, they would be allocated at least $10.00 7 from that Residual Net Designation

Amount. If after six months after the re-distributions of all the Residual Net Designation

Amounts, any funds shall remain in the funds for any of the 309 Net Designation Amounts then

such balances shall be contributed to non-sectarian, not-for-profit, 501(c)(3) organization(s)

designated by Stanley D. Bernstein and Ariana J. Tadler on behalf of Plaintiffs' Executive

Committee; and it is further

        ORDERED, that all persons involved in the review, verification, calculation, tabulation,

or any other aspect of the processing of the claims submitted herein, or otherwise involved in the

administration, allocation or taxation of the Settlement Fund, the Net Settlement Fund or any Net

Designation Amount are released and discharged from any and all claims arising out of such

involvement, and all persons, whether or not they are to receive payment from the Net

Settlement Fund or any Net Designation Amount, are barred from making any further claim

against the Net Settlement Fund or any Net Designation Amount, the Claims Administrator or

Plaintiffs' Counsel, beyond the amount allocated to them pursuant to this Order; and it is further

        ORDERED, that Plaintiffs' Counsel are authorized to dispose of all the documents

(including paper and electronic documents) Plaintiffs' Counsel obtained in connection with the

prosecution and discovery received and collected in this coordinated class action litigation (other

than POCs and correspondence related thereto); provided such disposal is carried out in

accordance with the Stipulated Protective Order, dated March 24, 2004, where applicable; and it

is further


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         No re-distribution payments shall be made in respect of a Residual Net Designation Fund
to an Authorized Claimant who purchased the applicable Subject Security, but for whom the
initial calculation of his, her, its or their allocable share of such Residual Net Designation
Amount is $10.00 or less.


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          ORDERED, that the Claims Administrator is hereby authorized to dispose of all paper or

hard copies of the POCs and supporting documents not less than one (1) year after the initial

distributions of the 309 Net Designation Amounts are made to the Authorized Claimants, and to

dispose of all electronic or magnetic media data not less than three (3) years after the initial

distribution of the Net Designation Amounts was made to the Authorized Claimants; and it is

further

          ORDERED, that this Court retain jurisdiction over any further application or matter

which may arise in connection with these Actions.

                                                        BY THE COURT:
Dated: Neff1Ofk, New York
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